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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,                     )
                                              )
                        Plaintiff,            )       Case No. 1:11-cr-188
                                              )
v.                                            )       Honorable Janet T. Neff
                                              )
DAVID ANTONIO ALLEN,                                  )
                                    )
                  Defendant.        )
____________________________________)


                      AMENDED REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on September 22, 2011, after receiving the written consent of defendant and all counsel. At the

hearing, defendant David Antonio Allen entered a plea of guilty to Count 1 of the Indictment

charging him with possession with intent to distribute 28 grams or more of cocaine base, in violation

of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B)(iii), in exchange for the

undertakings made by the government in the written plea agreement. A corrected version of the Plea

Agreement (Docket #62) has now been filed. On the basis of the record made at the hearing, I find

that defendant is fully capable and competent to enter an informed plea; that the plea is made

knowingly and with full understanding of each of the rights waived by defendant; that it is made

voluntarily and free from any force, threats, or promises, apart from the promises in the plea agree-

ment; that the defendant understands the nature of the charge and penalties provided by law; and that

the plea has a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to Count 1 of the Indictment

be accepted, that the court adjudicate defendant guilty of the charge, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Dated: October 20, 2011                       /s/ Joseph G. Scoville
                                              U.S. Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than 14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d). A failure to file timely objections may result in the waiver of any further
right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474 U.S. 140
(1985); United States v. Branch, 537 F.3d 582, 587 (6th Cir.), cert. denied, 129 S. Ct. 752 (2008);
Frontier Ins. Co. v. Blaty, 454 F.3d 590, 596-97 (6th Cir. 2006). General objections do not suffice.
Spencer v. Bouchard, 449 F.3d 721, 724-25 (6th Cir. 2006); see Frontier, 454 F.3d at 596-97;
McClanahan v. Comm’r of Social Security, 474 F.3d 830, 837 (6th Cir. 2006).
